          Case 1:19-cr-00500-SAG Document 210 Filed 03/31/22 Page 1 of 1



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

                                               *
 UNITED STATES OF AMERICA
                                               *
          v.
                                               * Criminal No. SAG-19-0500
 JONATHAN WILLIAM WALL
                                               *
          Defendant.
                                               *

      *        *       *      *     *      *       *     *      *      *     *      *

                                        VERDICT FORM

Count One: Conspiracy to Distribute and Possess With Intent to Distribute Marijuana

   A. How do you find the defendant, Jonathan William Wall, as to Count One of the
      Indictment?


               Guilty __________                   Not Guilty __________


   B. If you have found the defendant guilty as to Count One, you must next determine the
      quantity of marijuana that was involved in the offense (choose only one of the options
      below).


               _____ 1,000 kilograms or more


               _____ less than 1,000 kilograms but more than 100 kilograms


               _____ less than 100 kilograms




The foregoing constitutes the unanimous verdict of the jury.


______________________                             ____________________________
DATE:                                              FOREPERSON
